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       Attorneys for Defendant CallFire, Inc.
 15
 16                          UNITED STATES DISTRICT COURT
 17                         CENTRAL DISTRICT OF CALIFORNIA
 18                                   WESTERN DIVISION
 19
       LEE WIGOD, individually and on               Case No. 2:19-cv-02874-SVW-MAA
 20    behalf of all others similarly situated,
                                                    Hon. Stephen V. Wilson
 21                     Plaintiff,
                                                    CALLFIRE, INC.’S NOTICE OF
 22          v.                                     INTERESTED ENTITIES
 23    CALLFIRE, INC.,
 24                                                 Complaint Filed: April 15, 2019
                        Defendant.
                                                    Complaint Served: April 29, 2019
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 28
                                                             CERTIFICATE OF INTERESTED ENTITIES
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  1         The undersigned, counsel of record for CallFire, Inc., certifies that no persons,
  2   firms, partnerships, corporations, or other entities, other than the above-named
  3   Plaintiff and Defendant, have (i) a financial interest in the subject matter in
  4   controversy or in a party to the proceeding, or (ii) have a non-financial interest in that
  5   subject matter or in a party that could be substantially affected by the outcome of this
  6   proceeding.
  7    Dated: May 16, 2019                         JONES DAY
  8
                                                   By: /s/ Ann T. Rossum
  9                                                   Ann T. Rossum
 10                                                Counsel to Defendant
                                                   CALLFIRE, INC..
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                                                              CERTIFICATE OF INTERESTED ENTITIES
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